            Case 8:22-bk-10949-SC                             Doc 16 Filed 06/22/22 Entered 06/22/22 12:55:19                               Desc
                                                               Main Document    Page 1 of 4




 Fill in this information to identify the case:

 Debtor name         Fitness Anywhere LLC

 United States Bankruptcy Court for the:            CENTRAL DISTRICT OF CALIFORNIA - SANTA ANA

 Case number (if known)         8:22-bk-10949-SC
                                                                                                                                   Check if this is an
                                                                                                                                    amended filing



Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                                           12/15

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit this
form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the document, and any
amendments of those documents. This form must state the individual’s position or relationship to the debtor, the identity of the document,
and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341,
1519, and 3571.



                Declaration and signature


       I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or another
       individual serving as a representative of the debtor in this case.

       I have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct:

                 Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)
                 Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
                 Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)
                 Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)
                 Schedule H: Codebtors (Official Form 206H)
                 Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)
                 Amended Schedule
                 Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders (Official Form 204)
                 Other document that requires a declaration

       I declare under penalty of perjury that the foregoing is true and correct.

        Executed on          June 22, 2022                           X
                                                                         Signature of individual signing on behalf of debtor

                                                                         Brent Leffel
                                                                         Printed name

                                                                         Chairman of the Board of Managers of Fitness Anywhere LLC
                                                                         Position or relationship to debtor




Official Form 202                                             Declaration Under Penalty of Perjury for Non-Individual Debtors
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 Fill in this information to identify the case:
 Debtor name Fitness Anywhere LLC
 United States Bankruptcy Court for the: CENTRAL DISTRICT OF                                                                                         Check if this is an
                                                CALIFORNIA - SANTA ANA
 Case number (if known):         8:22-bk-10949-SC                                                                                                     amended filing




Official Form 204
Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and
Are Not Insiders                                                                           12/15

A list of creditors holding the 20 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which the
debtor disputes. Do not include claims by any person or entity who is an insider, as defined in 11 U.S.C. § 101(31). Also, do not
include claims by secured creditors, unless the unsecured claim resulting from inadequate collateral value places the creditor
among the holders of the 20 largest unsecured claims.

 Name of creditor and      Name, telephone number Nature of claim                        Indicate if claim   Amount of claim
 complete mailing address, and email address of   (for example, trade                     is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code        creditor contact       debts, bank loans,                     unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                  professional services,                     disputed        value of collateral or setoff to calculate unsecured claim.
                                                  and government                                             Total claim, if            Deduction for value        Unsecured claim
                                                  contracts)                                                 partially secured          of collateral or setoff
 Exemplar Design                                                 Trade Debt                                                                                           $6,997,557.00
 4680 Parkway Drive
 Suite 300
 Mason, OK 45040
 Core Health &                                                   Trade Debt                                                                                           $1,888,775.00
 Fitness, LLC
 4400 Northeast 77th
 Avenue Suite
 300 Manufacturer
 Land America
 Vancouver, WA
 98662
 Flexport Inc                                                    Trade Debt                                                                                           $1,308,514.00
 P.O. Box 207244
 Dallas, TX
 75320-7244
 UPS Plan 0386NE                                                 Trade Debt                                                                                           $1,240,853.00
 55 Glenlake
 Parkway NE
 Atlanta, GA 30328
 Stephen Gould                                                   Trade Debt                                                                                           $1,149,881.00
 Corporation
 35 South Jefferson
 Road
 Whippany, NJ 07981
 Duane Morris LLP                                                Professional                                                                                           $640,421.30
 30 South 17Th                                                   Services
 Street
 Philadelphia, PA
 19103-4196
 Sprint FWD, LLC     Bryan Arp                                   Services                                                                                               $352,600.11
 703 Pier Avenue
 Suite B #632        bryanarp@gmail.co
 Hermosa Beach, CA m
 90254




Official form 204                                Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 1

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 Debtor    Fitness Anywhere LLC                                                                               Case number (if known)         8:22-bk-10949-SC
           Name

 Name of creditor and      Name, telephone number Nature of claim                        Indicate if claim   Amount of claim
 complete mailing address, and email address of   (for example, trade                     is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code        creditor contact       debts, bank loans,                     unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                  professional services,                     disputed        value of collateral or setoff to calculate unsecured claim.
                                                  and government                                             Total claim, if            Deduction for value        Unsecured claim
                                                  contracts)                                                 partially secured          of collateral or setoff
 Buy Box Experts                                                 Trade Debt                                                                                             $327,449.00
 3020 N Cullen Ct.
 Pleasant
 Grove, UT 84062
 MAN Staffing, LLC                                               Trade Debt                                                                                             $270,563.00
 550 East Del Amo
 Boulevard
 Carson, CA 90746
 Syzygy Digital                                                  Trade Debt                                                                                             $205,201.00
 Marketing, Inc
 41 Flatbush Avenue
 Brooklyn, NY 11217
 Morrison & Foerster             Murray A. Indick                Reimbursement                                                                                          $181,787.50
 LLP                                                             obligations owed
 Attn: Murray A.                 mindick@mofo.co                 to affiliate of
 Indick                          m                               Debtor for legal
 425 Market Street               415-268-7096                    fees and costs of
 San Francisco, CA                                               affiliate
 94105
 Lahlouh Inc                                                     Trade Debt                                                                                             $145,901.00
 1649 Adrian Road
 Burlingame, CA
 94010
 US Customs and                                                  Trade Debt                                                                                             $120,398.00
 Border Protection
 PO BOX 979126
 St. Louis, MO
 63197-9000
 McCollister's                                                   Trade Debt                                                                                             $116,007.00
 Transportation
 Group, Inc
 8 Terri Lane
 Burlington, NJ
 08016
 NetSuite Inc                                                    Trade Debt                                                                                             $101,013.00
 500 Oracle Parkway
 Redwood City, CA
 94065
 Google                                                          Trade Debt                                                                                               $98,468.00
 P.O. Box 39000
 San Francisco, CA
 94139
 AMEX Corp Card                                                  Trade Debt                                                                                               $95,952.00
 P.O. Box 0001
 Los Angeles, CA
 90096
 The Trade Desk                                                  Trade Debt                                                                                               $81,583.00
 42 N Chestnut St.
 Ventura, CA 93001




Official form 204                                Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 2

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 including zip code        creditor contact       debts, bank loans,                     unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                  professional services,                     disputed        value of collateral or setoff to calculate unsecured claim.
                                                  and government                                             Total claim, if            Deduction for value        Unsecured claim
                                                  contracts)                                                 partially secured          of collateral or setoff
 Dirbos Inc.                                                     Trade Debt                                                                                               $68,325.00
 27758 Santa
 Margarita Pkwy
 Suite 366
 Mission Viejo, CA
 92691
 Redwood Supply                                                  Trade Debt                                                                                               $65,451.00
 Chain Solutions
 1765 North Elston
 Avenue Suite 216
 Chicago, IL 60642




Official form 204                                Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 3

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